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13                             UNITED STATES DISTRICT COURT
14                             FOR THE DISTRICT OF ARIZONA
15
     United States of America,                    CASE NO.      CR-18-00422-PHX-SMB
16

17                Plaintiff,                      UNOPPOSED MOTION TO EXTEND
           vs.                                    TIME FOR FILING REPLY IN
18                                                FURTHER SUPPORT OF DEFENDANT
     Michael Lacey, et al.,                       LACEY’S MOTION TO AMEND
19
                                                  CONDITIONS OF RELEASE (DOC. 503)
20                Defendants.                     (First Request)

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22
           Excludable delay may occur under 18 U.S.C § 3161(h)(1)(D) as a result of this
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24   motion or an order based thereon, as explained more fully below.

25         Defendant Michael Lacey, by and through his undersigned attorney, respectfully
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     requests this Court, pursuant to LRCrim 12.1 and LRCiv 7.2(c) and 7.3, issue an order
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                Case 2:18-cr-00422-DJH Document 517 Filed 04/04/19 Page 2 of 3




     extending the time for filing Defendant Lacey’s Reply in Further Support of his Motion to
 1

 2   Amend Conditions of Release. In light of the government’s extensive opposition, as well as

 3   pressing matters or other cases, additional time is needed to properly address these matters for
 4   the Court. Currently, Mr. Lacey’s reply is due on April 9, 2019. Mr. Lacey respectfully requests
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     an extension of seven (7) days to file his reply on April 16, 2019. Undersigned counsel has
 6
     consulted with Assistant United States Attorney Kevin Rapp, Esq., who does not oppose this
 7
     request.
 8
 9

10          RESPECTFULLY SUBMITTED this 4th day of April, 2019.

11

12                                         LIPSITZ GREEN SCIME CAMBRIA LLP

13                                         By: /s/          Paul J. Cambria, Jr.
14                                                   PAUL J. CAMBRIA, JR.
                                                     Attorney for Defendant Michael Lacey
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 2   On April 4, 2019, a PDF version
 3   of this document was filed with the
     Clerk of Court using the CM/ECF
 4
     System for filing and for Transmittal
 5   Of a Notice of Electronic Filing to the
     Following CM/ECF registrants:
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